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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   FINANCIAL TECHNOLOGY PARTNERS
                                                                              L.P.,
                                                                         10                                                            No. C 07-01298 JSW
                                                                                             Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                               For the Northern District of California




                                                                         12                                                            COURT’S INTENDED VOIR DIRE
                                                                              FNX LIMITED, FARID NAIB, and DOES 1-                     FOR PANEL
                                                                         13   20
                                                                         14                  Defendants.
                                                                                                                              /
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                                                                         16
                                                                         17                                    STATEMENT OF THE CASE
                                                                         18          This is an action for breach of contract brought by Plaintiff Financial Technology
                                                                         19   Partners, L.P., against its former client, Defendant FNX Limited and FNX’s owner, Farid Naib.
                                                                         20   FT Partners contends that it is owed fees in connection with a written contract called the
                                                                         21   Advisory Agreement between it and FNX. Farid Naib guaranteed the obligations of FNX under
                                                                         22   that Advisory Agreement. The Advisory Agreement was entered into on September 12, 2002,
                                                                         23   and was terminated by FNX on March 6, 2004. The parties are not claiming that FT Partners
                                                                         24   breached the Advisory Agreement or that it was improper for FNX to terminate the agreement.
                                                                         25          FT Partners claims that FNX breached the contract by failing to pay what FT Partners
                                                                         26   contends is a “delayed retainer”, and failing to pay fees on three different transactions. The
                                                                         27   disputed fees are: $120,000 in fees for a bridge loan from Trident Capital to FNX; a $600,000
                                                                         28   fee for an investment in FNX made by Conning Capital Partners and Lazard Technology
                                                                                   Case 3:07-cv-01298-JSW Document 105 Filed 06/30/09 Page 2 of 4



                                                                          1   Partners; and a $750,000 fee for the sale of FNX to a company called GL Trade in 2007. FT
                                                                          2   Partners claims interest on all amounts which were not timely paid.
                                                                          3            FNX claims that the Advisory Agreement does not require FNX to pay fees for these
                                                                          4   transactions, and that FT Partners expressly waived any right it had to collect fees. FNX also
                                                                          5   contends that FT Partners and FNX reached agreements after execution of the Advisory
                                                                          6   Agreement that extinguish any right to fees that FT Partners had for certain of the transactions.
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                                                                          8                                   QUESTIONS FOR THE PANEL
                                                                          9   1.       Has any member of the panel heard or read anything about the case?
                                                                         10   2.       As I indicated, my name is Jeffrey S. White. Do any of you know me?
                                                                         11   3.       My courtroom deputy is Jennifer Ottolini and my Law Clerks are Daisy Salzman,
United States District Court
                               For the Northern District of California




                                                                         12            Melissa Goldberg, and Kristin Ring. Do any of you know any of these people?
                                                                         13   4.       Plaintiff FT Partners will be represented at trial by Matthew G. Ball and Ramiz I.
                                                                         14            Rafeedie of the law offices of K&L Gates LLP. Defendants FNX Limited and Farid
                                                                         15            Naib will be represented at trial by H. Joseph Escher III and D. Christopher Burdett of
                                                                         16            the law firm of Dechert LLP. The parties may also call the following witnesses:
                                                                         17                   •       Steven McLaughlin
                                                                         18                   •       Timothy Wolfe
                                                                         19                   •       Jeff Wong
                                                                         20                   •       Farid Naib
                                                                         21                   •       Phillip Bell
                                                                         22            a)     Do any of you know any of these persons?
                                                                         23            b)     Have any of you had any business dealing with them or were represented by
                                                                         24                   them?
                                                                         25            c)     Have any of you had any other similar relationship or business connection with
                                                                         26                   any of them?
                                                                         27   5.       Do you have any knowledge concerning the facts or events in this case?
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                                                                          1   6.        Do you have any belief or feeling towards any of the parties, attorneys, or witnesses that
                                                                          2             might be regarded as bias or prejudice for or against any of them?
                                                                          3   7.        Do you have any interest, financial or otherwise, in the outcome of this case?
                                                                          4   8.        Have any of you ever served as a juror in a criminal or a civil case or as a member of a
                                                                          5             grand jury in either a federal or state court? If yes, please state the following:
                                                                          6             a)     How many times?
                                                                          7             b)     When?
                                                                          8             c)     Were you a foreperson?
                                                                          9             d)     What type of case was it?
                                                                         10             e)     How did you feel about your jury service?
                                                                         11             g) Without stating the result, did the jury reach a verdict?
United States District Court
                               For the Northern District of California




                                                                         12   9.        Have any of you ever had a job where you were paid based on a commission for sales?
                                                                         13   10.       Have any of you ever had a dispute about your own or your company’s compensation
                                                                         14             based on whether someone was were entitled to a commission?
                                                                         15   11.       Do any of you think it is wrong or unfair to terminate a contract for economic reasons if
                                                                         16             the contract allows for such termination?
                                                                         17   12.       Would learning that FT Partners is sometimes referred to as an investment bank cause
                                                                         18             any of you difficulties in being fair to FT Partners?
                                                                         19   13.       Steven McLaughlin, one of the principal witnesses in the case and the head of FT
                                                                         20             Partners, at one time worked for Goldman Sachs. Would that fact cause any of you
                                                                         21             difficulties in being fair to FT Partners?
                                                                         22   14.       Is there anything else that you would like to bring to the Court’s attention (e.g., health
                                                                         23             problems, hearing problems, difficulty understanding English, personal bias, financial
                                                                         24             problems, etc.) that might affect your ability to be an effective, fair and impartial juror?
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                                                                          1   15.   Will you be able to be a fair an impartial juror to both sides involved in this case?
                                                                          2         IT IS SO ORDERED.
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                                                                          4   Dated: June 30, 2009
                                                                                                                                      JEFFREY S. WHITE
                                                                          5                                                           UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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